 4:06-cr-03016-JMG-CRZ   Doc # 28   Filed: 07/14/06   Page 1 of 1 - Page ID # 46



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3016
           v.                        )
                                     )
ARMANDO GARCIA-DELACRUZ,             )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     A hearing on defendant’s competency to stand trial is set

for August 18, 2006 at 2:00 p.m.


     DATED this 14th day of July, 2006.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
